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Attorney Client




                                                                                 LD001593
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Attorney Client




   From: Vince Roveccio [mailto:VRoveccio@seiu32bj.org]
   Sent: Monday, October 05, 2015 3:02 PM
   To: Darryl Rankin
   Subject: RE: COMPLAINT# 727-15 JOSE RIVERA 200 RECTOR STREET CRM:O046161
                                                    -




  Jose advised me that company has addressed it already andthat company has taken this resident to
                                                           record. As far particular incidents, it is not
  court. He just wanted to document it so that it would be on
  only Jose but other workers who feel the same way. Apparently this resident confronts the employees
  as to instigate an argument.



   From: Darryl Rankin [maiIto:drankin@mi|fordmgmt.com]
   Sent: Monday, October 05, 2015 2:57 PM
   To: Vince Roveccio
   Subject: RE: COMPLAINT# 727-15 JOSE RIVERA 200 RECTOR STREET CRM:O046161
                                                    -




  Vince

  Thanks for sending this. The letter is very general can you please be more specific as to the nature and
  dates/times of the complaints made? While we will address it is difficult to send something that
  generalizes harassment.

  Thanks.

  D


  Darryl P. Rankin
  Milford Management
  99 Battery Place
  New York, NY 10280
  (212) 842-7310 office




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From: Vince Roveccio [mailto:VRoveccio@seiu32bj.org]
Sent: Monday, October 05, 2015 2:41 PM
To: Darryl Rankin
Subject: COMPLAINT# 727-15 JOSE RIVERA - 200 RECTOR STREET CRM:0046161

Good afternoon Darryl, Jose claims that there is a resident in apartment 35f that has harassed him and
his coworkers.




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